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 2                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 3                                       AT TACOMA

 4
        UNITED STATES OF AMERICA,
 5
                                                            CASE NO. CR11-5505BHS
                               Plaintiff,
 6
                                                            ORDER
                 v.
 7
        REGINALD D. BALDWIN,
 8
                               Defendant.
 9

10          THIS MATTER came before the Court on February 3, 2015, for a supervised release

11 violation hearing. At the hearing, the Court ordered the Defendant’s release pending a hearing

12 on the violations on March 23, 2015, at 10:00 AM.
            NOW, THEREFORE, IT IS HEREBY ORDERED that the Defendant is released from
13
     custody under the conditions of supervision previously imposed, as well as to enter into an anger
14
     management program as directed by the United States Probation Office. Defendant is also
15
     ordered to appear for a Status Hearing before this Court on Tuesday, March 3, 2015, at
16
     11:00AM.
17
            Dated this 3rd day of February, 2015.
18

19

20
                                                    A
                                                    BENJAMIN H. SETTLE
                                                    United States District Judge
21

22


     ORDER - 1
